Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 1 of 25




                            UNITED ST APTES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

     SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,

     V.

     RISH! KAPOOR; et al


                              Defendants.
     - - - - - - - - - - - - -I



     Emergency Ex Parte Motion for Asset Freeze and Other
            Relief Against Defendant Rishi Kapoor




                            EXHIBIT 4
                           Declaration of Gregg Brooks
Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 2 of 25




                                  DECLARATION OF GREG BROOKS

      Pursuant to 28 U.S.C. § 1746, the undersigned states as follows :

      I.     My name is Greg Brooks . I am over the age of twenty-one (21 ). I have personal
             knowledge of the matters set forth herein .

      2.     I am a resident of Florida and at all relevant times resided in Palm Beach County,
             Florida.

      3.     I am the former Chief Financial Officer ("CFO") of Location Ventures, LLC ("LY'').
             served as LV ' s CFO from August 15, 2022 until March 29, 2023. As LV's CFO, I had
             access to all of LV's books, records, bank accounts, and cash inflows and outflows. I
             was responsible not only for LY's books and records, but also the books and records of
             all of the other projects that fell under the umbrella of LV, as well as other projects that
             Kapoor managed and controlled, including URBIN, LLC and the related URBIN
             projects. I had access to , although not signatory responsibility for, all bank accounts
             related to LY , URBIN , LLC, and all individual projects. I was also responsible for
             interfacing with LV and project-level in vestors on a regular basis . I reported to LY's
             Chief Executi ve Officer, Rishi Kapoor ("Kapoor"). Kapoor managed and controlled LV
             during my tenure as LV ' s CFO. Kapoor is a real estate developer focusing on real estate
             development primarily in the South Florida market.

      4.     Kapoor and others formed LV in 2016 for the purpose of generating investment income
             from real property investment opportunities. Kapoor use LV to oversee the acquisition,
             design, development, construction, and management of real estate projects (the
             " Projects"). The Projects include luxury single-family homes, condominiums, and multi-
             family developments, as well as mixed-use projects that collocate commercial work-
             space with residential housing. Kapoor created several limited liability companies,
             including LV, to carry out those efforts, including but not limited to URBIN , LLC , 515
             Valencia Partners, LLC (the "Villa Valencia Project") , URBIN Coconut Grove Partners,
             LLC ("U RBIN Grove"), 551 Bayshore LLC, URBIN ~iami Beach, LLC, URBI Miami
             Beach ll, LLC, 1505 Ponce Partners, LLC , Stewart Grove, LLC, URBIN Coral Gables,
             LLC, Wells Glacier, LLC, Redlands Phase I, LLC , 619 Breakers, LLC.

      5.     LV is the parent company holding the " Sponsor" and " Project" entities. Sponsors
             essentially manage each respective development Project. L V, each Sponsor entity, and
             each Project entity were Kapoor-managed companies during my tenure as LV' s CFO.
             Utilizing these companies and investor capital, Kapoor and his team acquire, develop,
             construct, and manage real estate projects with the goal of generating profits for
             in vestors. Kapoor and his team manage LV, the Sponsors, and each of these Projects.
             Although Kapoor and L V have many developments in various stages, LV had only sold
             two Projects, with one other close to completion, before or during my tenure as CFO.
             Almost all of LY's net revenues were generated from acquisition, development,
             management, and/or marketing fees paid from investor funds .

                                                                 EXHIBIT

                                                                     4
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      6.    Kapoor, LV, the Sponsors, and the Project offer pa sivc real estate investment
            opportunitie to invc tors by selling member hip interests in LV, the Sponsors, and in
            each of the Projects. Kapoor does not utilize private placement memoranda. Rather,
            Kapoor provides potential investors with a pro-forma budget and an operating agreement
            for the respective investment opportunity. Investor capital was pooled in accounts that
            were controlled by Kapoor during my tenure a L V's CFO, and used to pay hard and oft
            costs a sociated with the respective investment . Investor receive Membership Interests
            and Units in the entity in which they invest in exchange for investor capital. These
            investments have not been registered with the Securities and Exchange Commission.

      7.    In my capacity as CFO, it was my regular busine s practice to record the amount of
            capital Kapoor rai ed for LV and the other related real estate inve tment companies
            ("Related Entities") he managed and controlled using a prcadsheet entitled the Equity
            and Debt Tracker. The information contained in the Equity and Debt Tracker is based on
            depo it received into LV' and the Related Entitie ' bank account , capital contributions
            reflected in LV's and the Related Entities' re pective operating agreement , and my
            personal knowledge of the capital being raised during my tenure as CFO. Up to and
            including December 21, 2022, I updated the Equity and Debt Tracker at or near the time
            Kapoor rai ed additional capital, and it wa maintained by me in my capacity a CFO in
            the ordinary course of LV's regular busine s activity. A true and correct copy of the
            Equity and Debt Tracker dated December 21, 2022 is attached as Exhibit A. From
            approximately January 2018 through December 21, 2022, Kapoor raised at least $98
            million from more than 50 external investor , 30 million of which reflected investment
            in LV. During my tenure as LV's CFO, I di covered and became aware of a number of
            financial and corporate irregularitie , including the following:


            A . Despite Kapoor representing to prospective LV investors in the LV operating
                agreement that Patriot   nited LLC made a 13 million cash contribution to LV, I
                wa never able to find evidence of thi amount in LV's bank account or related bank
                accounts.

            B. Kapoor directed me to lie to                , which I refused to do, concerning a loan
               application that LV wa eeking for its 5~                 oject. During the application
               process, Kapoor in tructed me to inform -                 that Kapoor had no loan for
               which he had per onal recourse when in fact, every loan that was out tanding at the
               time to LV and/or any of its Projects was fully guaranteed personally by Kapoor.

            C. LV's operating agreement provides that unless excused by the Board, LV would have
               it financial statements, and those of its sub idiaries and investments, including each
               Project Entity, audited by a certified public accountant on an annual basis . During
               my tenure, the financial tatements were not audited and I aw no evidence LV'
               Board ever excused that requirement.

            D. Kapoor directed that he and other be paid more than what was represented in the
               approved budgets for LV . Neither LV's board of directors nor its Members ever
               approved that Kapoor and others should be paid more than what wa represented in
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                 LV' approved budgets. When I questioned Kapoor about certain payments to him
                 that exceeded what had been approved in the budgets, Kapoor stated that is how he
                 had always been compensated, but he could not provide any documentation to justify
                 the payments.

            E. Subcontractors on several of the Projects, including the Villa Valencia Project in
               Coral Gables, Florida, had not been paid fully, resulting in lien being placed on ome
               of the property.

            F. Kapoor and LV did not remit federal withholding taxe and the employer portion of
               social ccurity and other taxes for LV employees period of time between 201 7 and
               August 2022, despite reducing employees' paychecks for such deductions. Per my
               analysis and calculations, I estimated the total amount not remitted is approximately
               S 1.4 million.

            G. Kapoor caused certain Projects to incur co t and fees to extend clo ' ing and/or
               maturity dates for loans for certain projects without getting approval from inve tor .
               Example include debt extension fees for URBIN Grove, acqui ition closing date
               extensions for 1505 Ponce. acquisition clo ing date extensions for 551 Bay horc.
               among others. The total said fees exceed 5 million.

            H. Kapoor caused Projects to incur interest charges for additional financing for the
               Projects without reporting it on their respective balance sheet in accordance with
               U. S. GA P, without getting investor approval to incur the debts, and without
               disclosing the liability to investors . For example, Kapoor cau ed the Villa Valencia
               Project to incur approximately SlO million in accrued interest on a econd loan for the
               Villa Valencia Project and never reported this debt on the project' s balance sheet.

            I.   Kapoor directed the charging and payment of fees on everal Projects that were not
                 authorized by the Projects' respective operating agreements. For example, Kapoor
                 directed acquisition fees be paid on everal projects before the property related to
                 each Project had actually been acquired. For example, thi occurred at both 1505
                 Ponce and 551 Bayshore and totaled more than $1.2 million in the aggregate on those
                 two Projects. Additionally, Kapoor charged the Projects other fees that were not
                 permitted within the Projects' respective operating agreements, such as so called
                 "capital placement" and/or "capital arrangement fees" . Moreover, on multiple
                 occasions, Kapoor directed these payments be made to him per anally rather than
                 flowing up through LV and distributed in accordance with the governing documents.
                 He directed the e payments be made without disclosing to, or getting approval from ,
                 LV' board of directors or the investors in the respective Projects. Over the last five
                 years, Kapoor received a minimum of $3 million in uch fees, including
                 approximately . 1.5 million in 2021 and more than 1.5 million in 2022 .

            J.   In most cases, the various Project operating agreements included a provision that if
                 project costs exceeded the Approved Budget (a defined term in the respective
                 operating agreements) by more than I 0%, it require approval by a majority of the
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                  inve tors in the Project. Kapoor knew that everal Projects had received updated
                  construction cost estimate and/or so called guaranteed maximum price contracts that
                  were well in excess of 110% of the Approved Budgets. ot only did Kapoor not
                  inform and seek approval for said overage from Project investors, but he caused
                  construction to begin on several Projects knowing that the costs of tho e Projects was
                  significantly greater than what investors had agreed to and been made aware of. Two
                  such examples include URBIN Miami Beach and 551 Bayshore. I inquired on
                  multiple occasions as to if and when Kapoor intended on informing inve tors of these
                  significant budget variances and was told by Kapoor that he would eventually tell
                  them, but to my knowledge he never did.

              K. UR BIN Grove received more than S3 million in pre-construction buyer deposits.
                 Kapoor caused more than $1 million of these deposits to be used for purposes other
                 than construction of the URBIN Grove project.

              L. Kapoor entered into an arrangement with LV's general contractor, Winmar
                 Construction, whereby Winmar agreed to become LV's exclusive general contractor
                 and LV agreed to take on all of the overhead of Winmar' operation. This
                 arrangement was not fully disclosed to, nor formally approved by, LV' board of
                 directors, nor was it disclosed to Project investors . As a result of this arrangement,
                 certain Projects ended up paying significant sums (well over S2 million in aggregate)
                 to Winmar even though no or little actual construction work was being performed.
                 Substantially all Projects were impacted by this arrangement.

              M. Kapoor caused LV to loan approximately 15 million of investor capital to UR Bl
                 LLC without approval of the LV investors and without approval from the L'RBIN
                 investors to incur the debt.

              N. Kapoor also cau cd URBI:\ Grove to incur 12 million of debt, 10 million of which
                 was used to partly buy-out a non-URBlN Grove inve tor. I specifically cautioned
                 Kapoor that this was contrary to the operating agreements and investor approval was
                 required. Kapoor ignored my guidance and incurred the debt anyway. Furthermore,
                 the proceeds of the loans never came into the UR BIN Grove account de pite my
                 guidance that they should.

              0 . Kapoor used company, Project, and/or investor capital to pay for his and other' s
                  lifestyles. For example, Kapoor used the e funds to pay a private chef costing
                    10,000 per month to prepare food on Kapoor's yacht.


               1 declare under the e.j nalty of perjury that the foregoing is true, correct, and made in good
       faith. Executed on this l2.._ cay of August 2023.




                                                                     Greg Brooks
                                                                Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 6 of 25




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         Equ11y Committed Summary Equity Committed Pe, Proje,ct ...:>

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                 Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 10 of 25



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!Total                  $        12,112,500    $   14,000,000   $        l1 ,887,500}1
Investor                 Total Commitments     Total Fundin      Balance Remainin     Closin $1     Closin     Date 1 Closin $2 Closin Date 2
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                        $            37,500    $      37,500    $                          37,500            12/19/18
                        $           200,000    $     200,000    $                         200,000            06/28/19
                        $           150,000    $     250,000    $          (100,000)      150,000            08/29/18 $ 100,000       03/01 /19
                        $           150,000    $     250 ,000   $          (100,000)      150,000            08/29/18 $ 100,000       03/01 /19
                        $           250,000    $     250 ,000   $                         250,000            04/29/19
                        $           125,000    $     125,000    $                         125,000            12/20/18
                        $         1,000,000    $   1,000,000    $                         500,000            11 /19/18 $ 500 ,000     05/10/19
                        $         1,000 ,000   $     500,000    $           500,000 $ 500,000                12/27/18
                        $         1,000 ,000   $   1,000,000    $                     $1 ,000,000            09/19/18
                        $         1,000 ,000   $   1,000 ,000   $                     $ 500,000              07/25/18 $ 500 ,000      08/29/18
Kapoor Capital          $         1,000 ,000   $   1,000 ,000   $                     $ 750,000              08/29/18 $ 250 ,000      02/28/19
                        $         1,000 ,000   $   1,000 ,000   $                     $1,000 ,000            09/27/18
                        $         1,000 ,000   $   1,000 ,000   $                     $ 700,000              08/29/18 $ 300 ,000      09/27/18
LV                      $         4,000 ,000   $   6,187,500    $        (2,187,500 ) $6,187,500
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                 Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 11 of 25




1505 PONCE

!Total       $         20,000,000   $   20,000,000   $




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Investor      Total Commitments     Total Funding    Balance Remaining Closing $1    Closing Date 1 Closing$ 2 Closing Date 2
             $         9,000 ,000   $   9,000 ,000   $             -   $2,500 ,000         09/30/21 $6,500 ,000      06/02/22
             $         9,000 ,000   $   9,000,000    $             -   $4,500 ,000         06/09/22 $4,500 ,000      06/13/22
LV           $         2,000,000    $   2,000 ,000   $             -   $ 853,100                    $1 ,146,900
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                  Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 12 of 25




551 BAYSHORE

!Total                   $          18,000,000    $    10,575,775   $    7,424,225   !


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Investor                     Total Commitments Total Fundin     Balance Remainin                 Closin     Date 1 Closin $ 2 Closin Date 2 Closin   $3
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                         $            8,100,000 $  4,000 ,000 $         4,100,000 $2 ,000 ,000            06/15/22 $2 ,000 ,000     06/21/22
LV                       $            4,727,485 $  1,353,260 $          3,374,225 $1 ,353,260
LV Bays ho re Partners                          $     50,000 $            (50,000)
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       Location Ventures                                                             Note Funded amounts below not et reconciled to books

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                    Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 19 of 25



619 Breakers

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                Case 1:23-cv-24903-CMA Document 6-9 Entered on FLSD Docket 12/27/2023 Page 20 of 25




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Add Rows Above This Line
